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                                                                       RECEIVED

                                                                             MAR -5 2018
                                                                         AT 8:30               M
                                                                            WILLIAM T. WALSH
                                                                                 CLERK



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  MITSUBISHI TANABE PHARMA                            Civil Action No.17-5005 (PGS)(DEA)
  CORPORATION, JANSSEN                                Civil Action No. 17-5135 (PGS)(DEA)
  PHARMACEUTICALS, INC., JANSSEN                      Civil Action No. 17-5278 (PGS)(DEA)
  PHARMACEUTICA NV, JANSSEN                           Civil Action No. 17-5302 (PGS)(DEA)
  RESEARCH AND DEVELOPMENT, LLC,                      Civil Action No. 17-7342 (PGS)(DEA)
  and CILAG GMBH'INTERNATIONAL,                       Civil Action No. 17-13130 (PGS)(DEA)
                                                      Civil Action No. 18-292. (PGS)(DEA)
                        Plaintiffs,                   (consolidated)

         v.                                           ORDER CONSOLIDATING CASES
                                                      FOR DISCOVERY AND CASE
  AUROBINDO PHARMA USA, INC., et al.,                 MANAGEMENT PURPOSES

                        Defendants.



        TIDS MATTER, having come before the Court by way of an Initial Scheduling

 Conference on February 13, 2018, and all Counsel having consented to this Order, and for good

 cause shown,

        IT IS on this   51!:.   day of   '/kruc.k, ,2018,
        ORDERED that Civil Action Nos. 17-5005 (PGS)(DEA), 17-5135(PGS)(DEA), 17-

 5278(PGS)(DEA), 17-5302(PGS)(DEA), 17-7342(PGS)(DEA), 17-13130(PGS)(DEA), and 18-

 292(PGS)(DEA) (collectively, the "Consolidated Actions") are consolidated for discovery and

 case management purposes;

        IT IS FURTHER. ORDERED that all filings in the Consolidated Actions shall use the

 above caption on this Order;
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        IT IS FURTHER ORDERED that Civil Action No. 17-5005 shall be the Lead Case and

 all filings going forward that are common to all of the Consolidated Actions shall be filed in Civil

 Action No. 17-5005 only; and

        IT IS FURTHER ORDERED that all counsel who have been admitted pro hac vice in

 any of the Consolidated Actions shall be deemed to be admitted pro hac vice in Civil Action No.

 17-5005.

        SO ORDERED.



                                                       Honorab~.              Arpert, U.S.MJ.




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